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ORRICK

Official Committee of Equity Security Holders of October 15, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1033079

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair Orrick Contact: Marc A. Levinson

FOR SERVICES RENDERED through September 30, 2006 in

connection with the matters described on the attached pages: $ 201,005.50
DISBURSEMENTS as per attached pages: 1,738.42
TOTAL CURRENT FEES & DISBURSEMENTS (Pay this Amount): $ 202,743.92

Matter(s): 17908/2 —- USA Capital Diversified Trust Fund Commi

DUE UPON RECEIPT

The following is for information only:

Previous Balance not included in this invoice: $680,003.59
If this amount has already been paid, please disregard.

In order to ensure proper credit to your account,
please reference your INVOICE and CLIENT numbers on your remittance.
For inquiries, call: (304) 231-2701. Fax (304) 231-2501.

REMITTANCE COPY - PLEASE RETURN WITH PAYMENT

REMITTANCE ADDRESS: ELECTRONIC FUNDS ELECTRONIC FUNDS
Orrick, Herrington & Sutcliffe LLP TRANSFERS: TRANSFERS:

sa, ier nee & oe oe es7 Wire Transfers Only: ACH Transfers Only:
Reference: 17908/ Invoice: 1033079 ABA Number 0260-0959-3 ABA Number 121-000358

ELLN. XX-XXXXXXX Bank of America Bank of America

OVERNIGHT DELIVERY: 100 West 33rd Street, NY, NY 10001 San Francisco Main Branch
Orrick, Herrington & Sutcliffe LLP : A ecount of . , . Accoun t of .

c/o Bank of America, File #72887 Orrick, Herrington & Sutcliffe LLP Orrick, Herrington & Sutcliffe LLP

1455 Market Street. 21st Floor Account Number: 1499-4-10382 Account Number: 1499-4-10382
San Francisco C. 4 94103 Reference: 17908/ Invoice: 1033079 Reference: 17908/ Invoice: 1033079
, ELLN, XX-XXXXXXX E.LN. XX-XXXXXXX

(415) 436-4300
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Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC

1112 Worthen Circle

Las Vegas, NV 89145
Attn: Robert G. Worthen

Chair

October 15, 2006
Client No. 17908

Invoice No. 1033079

Orrick Contact: Mare A. Levinson

For Legal Services Rendered Through September 30, 2006 in Connection With:

Matter: 2 - USA Capital Diversified Trust Fund Committee

Task B110 — Case Administration

09/01/06 M. Levinson

09/01/06

09/01/06

09/01/06

L. Ernce

L. Ernce

L. Ernce

Review the article in today's Review- 1.00
Journal and the email memoranda re the
error in the same sent by L. Ernce, A.
Loraditch and M. Tucker (.20); draft and
revise an email memorandum to J.
Edwards pointing out the error and
requesting that it be corrected, and
circulate the same to the Diversified Fund
professionals (.30); review responses from
the Diversified Fund professionals re the
draft email memorandum and finalize and
transmit the email to J. Edwards (.20);
review the J. Edwards response and
forward the same to the Diversified Fund
professionals (.20); review the USA
Capital website notice of transmission of
distribution checks to members of the First
Trust Deed Fund and the website notice of
transmission of distribution checks to
direct lenders (.10).

Review emails from Diversified Fund 0.50
investors re news article by J. Edwards
and misleading comments (.20); exchange
emails and conferences with Diversified
Committee professionals re same (.20);
review M. Levinson emails to J. Edwards
re same (.10).

Attention to various case administration 0.40
matters.
Review debtors' motion to freeze USA 0.20

Commercial pension fund and to substitute
trustee.

560.00

232.50

186.00

93.00
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page 2

09/02/06 M. Levinson Re-review the exchange of yesterday's 0.60 336.00
email memoranda with J. Edwards re the
error in his September | st article in the
Review-Journal (.10); draft, revise and
finalize a follow-up email memorandum to
J. Edwards and send a follow-up email
memorandum re the same to the
Diversified Fund professionals (.20);
review the form of order authorizing
ordinary course releases and email A.
Loraditch re my approval thereof and re
next steps (.20); review the form of order
re use of cash through October 29th and
email A. Loraditch re my approval thereof
(.10).
09/03/06 M. Levinson Exchange follow-up email memoranda 0.10 56.00
with A. Loraditch re the form of cash
usage and ordinary course releases orders.
09/05/06 M. Levinson Telephone conversation with C. Harvick 0.10 56.00
re yesterday's developments and re next
steps.
09/06/06 L. Ernce Review email memo from S. Sherman re 0.10 46.50
status of Diversified Committee
professionals fee applications and review
M. Levinson response.
09/07/06 L. Ernce Review debtors' website for updated 0.20 93.00
information and email to Diversified
Committee professionals re same.

09/08/06 L. Ernce Telephone conference with M. Levinson 0.20 93.00
re case status matters.

09/11/06 M. Levinson Portion of the all-hands call devoted to 0.20 112.00
matters that are on calendar for September
13th.

09/11/06 M. Levinson Review the U.S. Trustee's opposition to 0.20 112.00

the extension of exclusivity (.10);
telephone conversation with A. Loraditch
re the September 13th omnibus hearing
(.10).
09/11/06 L. Ernce Review U.S. Trustee objection to 0.20 93.00
extension of exclusivity and email memo
to Diversified Committee professionals re
same.
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09/12/06 M. Levinson Review L. Emce email memorandum re 0.40 224.00
her call with a Diversified investor upset .
with USACM management and email
memorandum to T. Allison and A. Jarvis
re the same and re preventing re-
occurrences (.20); telephone conversation
with A. Loraditch re the issues to be raised
and positions taken at tomorrow's omnibus
hearing (.20).

09/13/06 M. Levinson Telephone conversation with A. Jarvis re 0.40 224.00
this morning's omnibus hearing (.20);
telephone conversation with J. Edwards re
today's hearing and other matters (.20).

09/13/06 L. Ernce Conferences with M. Levinson re case 0.10 46.50
status matters.

09/13/06 L. Ernce Review various electronic notices received 0.10 46.50
today.

09/14/06 L. Ernce Email to M. Levinson and J. Hermann re 0.10 46.50
case staffing issues.

09/14/06 L. Ernce Review second amended case 0.20 93.00
management order entered by bankruptcy
court today and email to Diversified
Committee professionals re same (.10);
exchange emails with A. Loraditch re
same (.10).

09/14/06 L. Emce Review order approving debtors’ use of 0.10 46.50
cash through October 29 and email to
Diversified Committee professionals re
same.

09/15/06 L. Ernce Review First Trust committee’s motion to 0.20 93.00
compel disclosure of First Trust Deed
Fund member list and email to M.

Levinson and A. Loraditch re same and
related issues.

09/18/06 M. Levinson Review the S. Smith and the M. Tucker 0.20 112.00

email memoranda re the resignation of M.
Olson, the possible future request to
establish a KERP and review the

spreadsheet reflecting employee

compensation.

09/18/06 L. Ernce Review email from M. Tucker re 0.10 46.50
employee retention issues.

09/19/06 J. Hermann Telephone conference with M. Tucker and 0.20 114.00

M. Levinson regarding issues in
connection with stay bonuses proposed by
USACM for existing employees and
related issues.
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09/19/06 M. Levinson Portion of long telephone conversation 0.20 112.00

with J. Hermann, with M. Tucker for part,
re the resignations of M. Olson and A.
Stevens, re attempts to retain them and
other employees and re stay bonus issues.
09/19/06 L. Ernce Exchange emails with A. Loraditch re 0.10 46.50
issues related to transmission of electronic
notices from bankruptcy court.
09/20/06 J. Hermann ' Telephone conference with M. Tucker and 0.20 114.00
M. Levinson regarding debtors’ proposals
on salary increases and bonuses prompted
by recent resignations of employees.
09/20/06 M. Levinson Portion of a long conversation with M. 0.50 280.00
Tucker and J. Hermann devoted to T.
Allison's request for the approval of raises
and retention bonuses for the remaining
employees and re M. Tucker's
conversation with T. Burr re the same
(.20); review and analyze S. Smith, D.
Belt and M. Tucker email memoranda re
the proposed bonus plan, and respond to
the Diversified professionals with my
thoughts on the same (.30).
09/21/06 M. Levinson Review M. Tucker email memorandum to 0.10 56.00
A. Jarvis re putting USACM's auditors on
notice not to destroy books and records.
09/21/06 J. Hermann Review and analyze pleadings filed by 0.20 — 114.00
debtors and committees regarding
retention of collection counsel in the
ordinary course.
09/25/06 M. Levinson Exchange a series of conference call with 0.40 224.00
A. Jarvis and with professionals for the
four committees re the next all-hands call
(.10); telephone conversation with A.
Jarvis re the application to employ
ordinary course professionals (.10);
telephone conversation with M. Tucker
and J. Hermann re the same (.10);
telephone conversation with L. Ernce re
possibly objecting to the employment of
one of the ordinary course professionals
(.10).
09/26/06 M. Levinson Review M. Pugsley and M. Tucker emails 0.10 56.00
re the steps Mesirow has taken to prevent
the outside accountants from destroying
documents.
09/27/06 M. Levinson Review the status and agenda for 0.10 56.00
tomorrow's omnibus hearing.
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09/27/06 J. Hermann Review and analyze pleading filed on 0.20 114.00

behalf of J. Milanowski seeking to compel
a distribution to USA Commercial Real
Estate Group, Inc.

09/28/06 M. Levinson Travel to Las Vegas for today's omnibus 9.50 5,320.00
hearing and related meetings, and, en
route, continue reviewing pleadings and
preparing for the hearing (2.50); attend the
morning session of today's omnibus
hearing and conferences in the hallway
during recesses (3.40); attend the
afternoon session of the hearing (1.10);
travel from Las Vegas, and, en route,
prepare for tomorrow's conference calls

(2.50).

09/28/06 L. Emce Review multiple electronic case notices 0.20 93.00
received today.

09/28/06 L. Ernce Review debtors' website and frequently 0.20 93.00

asked questions sheet about proofs of
claim and proofs of interest and email to
Diversified professionals re same (.10);
email to Diversified professionals re
anticipated timing of next distribution to
direct lenders and related issues (.10).
09/28/06 J. Hermann Telephone conference with A. Loraditch 0.20 114.00
regarding local practice in considering
2004 applications and in obtaining 2004
orders and subpoenas.
09/28/06 J. Hermann Review and analyze proposed 0.40 228.00
correspondence to accounting firm
regarding preservation of documents and
attached lengthy listing of affiliated
companies.
09/29/06 L. Emce Conference with M. Levinson re 0.20 93.00
yesterday's hearing and meetings and re
status and next steps.
09/30/06 M. Levinson Review and re-review countless email 2.40 1,344.00
memoranda that arrived during the past
week and prepare for next week.

B110— Case Administration Total 21.30 11,619.00
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Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 3.40 465.00 1,581.00
Jeffery D. Hermann 1.40 570.00 798.00
Marc A. Levinson 16.50 560.00 9,240.00

Total All Timekeepers 21.30 $545.49 $11,619.00
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Task B120 — Asset Analysis and Recovery

09/05/06 M. Levinson Review the Marquis Villa marketing 0.20 112.00
agreement and the A. Jarvis email
memorandum re the same and exchange a
series of follow-up email memoranda with
A. Jarvis re next steps with respect to
Marquis Villa and Tree Moss generally.

09/06/06 L. Ernce Exchange emails with C. Harvick re status 0.10 46.50
of Diversified Fund loan status report for
July 2006.

09/06/06 J. Hermann Review and analyze sale and marketing 1.50 855.00

agreement for Tree Moss sale of Marquis
Villas (.60); further prepare irrevocable
escrow instructions regarding the same
(.50); consider and analyze issues relating
to mechanics of making enforceable
demand for net proceeds to seller of escrow
account (.20); participate in exchange of
email correspondence with Diversified
Fund professionals and A. Jarvis regarding
the same (.20).
09/07/06 L. Ernce Review email from C. Harvick re shortfalls 0.10 46.50
guaranteed by former Investment Partner
principals and related issues.
09/08/06 J. Hermann Review and analyze Marquis Hotel sales 1.40 798.00
agreement received from A. Jarvis (.50);
consider and analyze issues in connection
with legal protection that monies flowing
out of escrow will be paid to debtors (.30);
prepare irrevocable escrow instructions in
connection with the same (.60).
09/12/06 J. Hermann Prepare form of irrevocable escrow 2.90 1,653.00
instructions in connection with potential
closing of sale of Zozo Hotel and
recoveries to be made from the proceeds of
the same and review and analyze file
materials in connection with the same.
09/12/06 J. Hermann Further review and analysis of purchase 0.90 513.00
and sale agreement for Hotel Zozo and
consider and analyze issues pertaining to
capturing proceeds of such sale.
09/12/06 M. Levinson Review M. Tucker email memorandum to 0.10 56.00
A. Jarvis and T. Allison re possible claims
against former auditors.
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09/13/06 L. Ernce Review J. Hermann email re pre- 0.20 93.00

bankruptcy redemptions to Diversified
Fund investors and related issues; review
M. Levinson and M. Tucker responses.
09/13/06 L. Ernce Review C. Harvick email and fund activity 0.20 93.00
report received from Mesirow today and
exchange emails with M. Tucker re
whether information can be provided to
others.
09/14/06 J. Hermann Telephone conference with M. Tucker and 0.40 228.00
M. Levinson regarding issues bearing upon
servicing and collection of Colt Gateway
loan and numerous related matters.

09/14/06 L. Emce Review and exchange emails with M. 0.10 46.50
Tucker re asset recovery issues.
09/16/06 L. Emce Review exchanges of emails among 0.10 46.50

Diversified Committee professionals re
meeting with Ashby and related matters.

09/19/06 L. Ernce Review M. Levinson report on his call with 0.10 46.50
R. Walker about Ashby issues.
09/20/06 J. Hermann Participate in conference call with A. Jarvis 0.20 114.00

and M. Levinson and M. Tucker regarding
numerous issues as a follow-up to all hands
conference call, including ongoing
negotiations with J. Milanowski and T.
Ashby in connection with collection of 10-
90, Inc. loan, plan of reorganization issues
and timing of amended version of the same,
fee objections of U.S. Trustee's office,
collection of Diversified Fund loans and
issues relating to Colt Gateway loan, and
issues bearing upon sale of Epic
condominiums and means of ensuring that
proceeds are paid to Diversified Fund.

09/20/06 J. Hermann Review and analyze transaction documents 0.50 285.00
for Colt Gateway and related loans in
connection with questions as to ownership
of second mortgage loan, identity of loan
participants, assignment of USACM
interest to Diversified Fund and other
matters discussed in conference call with
A. Jarvis.

09/20/06 J. Hermann Prepare email correspondence with 0.20 114.00
attachments providing information on and
analysis of such information relating to
Colt Gateway loan requested in conference
call with A. Jarvis.
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09/20/06 M. Levinson Review J. Hermann email memorandum to 0.30 168.00

A. Jarvis re the Colt loan (.10); portion of
long telephone conversation with A. Jarvis,
J. Hermann and M. Tucker devoted to a
discussion of the Colt loan (.20).
09/21/06 L. Ernce Review debtors’ loan status report for 0.20 93.00
August 31, 2006; email to Diversified
professionals re same and timing for
separate Diversified loan status report.
09/22/06 J. Hermann Review and analyze newly filed loan 0.50 285.00
summaries and cash collections to
determine loan collection activity on
Diversified Fund loans (.30); participate in
exchange of email correspondence _
regarding the same (.20).
09/25/06 M. Levinson Preliminary review of Colt and HFA 0.30 168.00
financial data forwarded by C. Harvick
(.10); telephone conversation with A. Jarvis
and M. Tucker re the HFA/Colt loans (.10);
review J. Hermann email memorandum to
A. Jarvis re an issue relating to the Colt
loan (.10).
09/25/06 L. Emce Review C. Harvick and financial reports on 0.10 46.50
certain entities involved in properties in
which Diversified Fund has an interest.
09/25/06 J. Hermann Review and analyze information received 1.60 912.00
from C. Harvick regarding Colt Gateway
loans and Colt Gateway borrower (.30);
review and analyze transaction documents
and other materials on Colt Gateway loan
received from A. Jarvis (.40); participate in
exchange of email correspondence with A.
Jarvis regarding original intention of Colt
Gateway loans being guaranteed by
Tanamera and HFA (.20); review and
analyze guaranties for Colt Gateway loan
(.30); review and analyze documents from
Colt Gateway loan file bearing upon the
above issues (.40).
09/26/06 J. Hermann Participate in conference call with A. 0.10 57.00
Jarvis, S. Strong and M. Levinson
regarding fee objections asserted but not
filed by U.S. Trustee, numerous plan of
reorganization issues and issues bearing
upon servicing and collection of Colt
Gateway loans.
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09/26/06 J. Hermann Review and analyze loan transaction 0.40 228.00
documents in connection with issues
discussed with A. Jarvis and S. Strong
regarding servicing and collection of Colt
Gateway loans.
09/26/06 M. Levinson Telephone conversation with A. Jarvis, S. 0.10 56.00
Strong and J. Hermann re collection of the
HFA/Colt loan.
09/27/06 M. Levinson Telephone conversation with J. Chubb re 0.70 392.00
the Colt loan in which Fertitta has an
interest (.20); portion of a long telephone
conversation with M. Tucker and J.
Hermann devoted to Colt issues (.10);
portion of telephone conversation with R.
Walker devoted to Colt issues (.10);
telephone conversation with M. Tucker re
calculating the claim against USACM and
re Colt issues, including those related to my
call with R. Walker (.20); telephone
conversation with A. Loraditch re
researching a Nevada law issue relating to
the Diversified Fund claim against
USACM (.10).
09/27/06 J. Hermann Participate in exchange of email 0.20 114.00
correspondence with C. Harvick. M.
Tucker, M. Levinson, and L. Ernce
regarding Colt Gateway loan issues
pertaining to charging and collection of
default interest and collection expenses.
09/27/06 J. Hermann Telephone conference with M. Tucker and 0.20 114.00
M. Levinson regarding issues in connection
with ongoing negotiations for plan of
reorganization compromise with FTDF
committee, collection and servicing issues
on Colt Gateway loans, need to finalize
escrow instructions on Epic loan matter and
related matters.
09/27/06 J. Hermann Telephone conference with C. Harvick 0.20 114.00
regarding default interest on Colt Gateway
loans and reasons for including the same in
future billings in connection with his
conversations with Mesirow representatives
on-site regarding the same.
09/27/06 J. Hermann Review and analyze billing statements and 0.80 456.00
transaction documents on Colt Gateway
loan in connection with issues pertaining to
charging and collection of default interest
and collection expenses.
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page 11
09/27/06 J. Hermann Revision of irrevocable escrow instructions 1.50 855.00
for Hotel Zozo sale closing directing that
net proceeds by paid to debtors for
application to Sheraton Hotel loan and for
general USACM recovery (.80); review and
analyze file materials in connection with
the same (.20); participate in exchange of
email correspondence regarding the same
with A. Jarvis, R. Walker, S. Tingey, S.
Strong, M. Tucker, M. Levinson and T.
Allison (.40).
09/29/06 J. Hermann Review and analyze Memorandum of 0.50 285.00

Understanding and exhibits thereto for
HFA/Colt Gateway loans bearing upon
issues presented by fact that Diversified
Fund loans to Colt Gateway are largely:
undocumented (.40); participate in
exchange of email correspondence with M.
Tucker, M. Levinson and C. Harvick
regarding the same (.10).

09/29/06 J. Hermann Telephone conference with R. Goe 0.50 285.00
regarding his client's questions as to Ashby
loans and developments and other assets of
Diversified Fund that could be purchased,
together with M. Levinson and M. Tucker.

B120 — Asset Analysis and Recovery Total 17.40 9,775.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 1.20 465.00 558.00
Jeffery D. Hermann 14.50 570.00 8,265.00
Mare A. Levinson 1.70 560.00 952.00

Total All Timekeepers 17.40 $561.78 $9,775.00
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Task B130 — Asset Disposition & Sales

09/13/06 M. Levinson Telephone conversation with R. Goe re the 0.30 168.00
continuing interest of Plan Proponent No.
5 in making an offer (.10); telephone
conversation with M. Tucker re the same
and brief follow-up email memorandum to
M. Tucker (.10); telephone conversation
with A. Jarvis re the same and brief
follow-up email memorandum to A. Jarvis

(.10).
B130 — Asset Disposition & Sales Total 0.30 168.00
Timekeeper Summary Hours Rate Amount
Marc A. Levinson 0.30 560.00 168.00

Total All Timekeepers 0.30 $560.00 $168.00
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Task B152 — Meetings & Communications with other Committees

09/12/06 M. Levinson Portion of the very long all-hands call 0.30 168.00
devoted to matters other than plan-related
matters, including claims administration,
exclusivity and other matters.
09/18/06 M. Levinson Review A. Jarvis email memorandum to the 0.90 504.00
committees re various status matters and re
postponing the next all-hands conference
call and exchange a series of email
memoranda numerous committee
professionals re the same (.20); exchange a
series of email memoranda with S. Freeman
and R. Charles re arranging a meeting of
professionals from our two committees to
discuss plan issues (.10); long telephone
conversation with R. Charles, S. Freeman
and T. Burr (for part), re a number of topics
including the plan term sheet, negotiating
USACM and Diversified issues, the possible
key employee retention plan motion and
other matters (.60).
09/20/06 J. Hermann Participate in all-hands conference call with 0.90 513.00
representatives of debtors and all
committees regarding various issues,
including plan of reorganization issues,
employee retention issues, and related
matters.
09/20/06 M. Levinson Participate in all-hands conference call re 0.90 504.00
plan, Silver Point sale, stay bonuses and
other issues.
09/26/06 J. Hermann Participate in all-hands call with debtor 1.00 570.00
professionals and committee professionals
regarding recent events and matters on
calendar for Thursday.
09/26/06 M. Levinson Participate in the majority of today's all 0.70 392.00
hands conference call re numerous issues
including fee applications, recent
collections, plan status.

B152— Meetings & Communications with other Committees Total 4.70 2,651.00
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Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 1.90 570.00 1,083.00
Marc A. Levinson 2.80 560.00 1,568.00

Total All Timekeepers 4.70 $564.04 $2,651.00
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page 15

Task B153 — Meetings & Communications with the Committee or members of the Committee

09/01/06 M. Levinson Long telephone with M. Schmahl re 0.50 280.00
yesterday's hearing and meetings (.30);
review L. Ernce email memorandum to
members of the Diversified Committee re
recent developments and re scheduling a call
for next week and review the various
responses thereto (.20).
09/01/06 L. Emce Review G. Kantor email memo re next 0.20 93.00
Diversified Committee meeting (.10); draft
email memo to Diversified Committee re
same (.10).
09/04/06 M. Levinson Exchange of email memoranda with L. 0.40 224.00
Ernce re scheduling the next Diversified
Committee conference call and conference
with L. Ernce re the same (.10); review L.
Ernce follow-up email memorandum to the
members of the Diversified Committee re
scheduling the conference call and review
her follow-up email memorandum to R.
Worthen and M. Tucker (.10); review email
memorandum from G. Kantor and review
the Las Vegas Review Journal article he
forwarded (.10); review follow-up email
memoranda from R. Worthen re upcoming
Diversified Committee and all-hands calls

(.10).

09/04/06 L. Ernce Emails to Diversified Committee re 0.10 46.50
scheduling next Diversified Committee call.

09/04/06 L. Ernce Email to R. Worthen re his attendance on 0.30 139.50

upcoming calls (.10); review G. Kantor
email re recent news article and review
article (.10); exchange emails with
Diversified Committee professionals re
same (.10).
09/05/06 M. Levinson Telephone conversation with R. Worthen, L. . 0.60 336.00
Ernce and M. Tucker re case status, plan
negotiation status and other matters (.30);
review and analyze lengthy J. McGimsey
email memorandum re Orrick and Beckley
fee requests (.10); review and revise the
lengthy L. Emce memorandum to J.
McGimsey in response to his email
memorandum (.20).
09/05/06 L. Ernce Exchange emails with Diversified 0.10 46.50
Committee members re availability for
Diversified Committee meeting.
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09/05/06 L. Ernce Conferences with M. Levinson re 1.20 558.00

responding to J. McGimsey inquiry about
fees and email to A. Loraditch re same (.10);
draft and revise response (.80); review M.
Levinson revisions; revise and finalize next
draft of response (.20); email to A. Loraditch
re same (.10).
09/06/06 M. Levinson Revise and finalize the email memorandum 1.70 952.00
to the Diversified Committee responding to
J. McGimsey’s email memorandum re
attorney fees (.20); prepare for Diversified
Committee conference call, including a brief
telephone conversation with C. Harvick re
the same (.30); participate in very long
Diversified Committee conference call
(1.20).
09/06/06 L. Ernce Attend portion of Diversified Committee 1.20 558.00
meeting.
09/06/06 L. Ermce Email to Diversified Committee members in 0.10 46.50
advance of Diversified Committee meeting
(.10).
09/08/06 M. Levinson Review L. Ernce and J. McGimsey email 0.10 56.00
memoranda re certain aspects of the draft
letter to creditors.
09/12/06 M. Levinson Draft, revise and finalize lengthy email 1.20 672.00
memorandum to R. Worthen re the near-
final or final version of the proposal from
Plan Proponent No. 2 (.40); draft, revise and
finalize lengthy email memorandum to the
members of the Diversified Committee and
to its professionals re the accepted proposal
from Plan Proponent No. 2, re plan
negotiations and next steps in light of the
foregoing, and re related matters (.70);
follow-up email memorandum to R.
Worthen (.10).
09/12/06 L. Emce Review M. Levinson email to Diversified 0.20 93.00
Committee re important recent
developments and to schedule Diversified
Committee conference call.
09/13/06 M. Levinson Brief telephone conversation with B. Hardy 0.60 336.00
re the upcoming Diversified Committee call,
email L. Ernce re the same and review S.
Katz email re her availability (.10);
telephone conversation with R. Worthen, L.
Ernce and M. Tucker (for part) re
Investment Partners, plan issues, today's call
with J. Milanowski and other matters (.50).
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09/13/06 L. Ernce Exchange emails with G. Kantor re status 0.30 139.50

matters; telephone conference with M.
Levinson re same (.10); exchange emails
with Mesirow following up on Diversified
Fund investor inquiry (.20).
09/13/06 L. Ernce Telephone conference with M. Levinson, R. 0.50 232.50
Worthen and M. Tucker (for part) re plan
proposal from Plan Proponent No. 2 and
related matters.
09/15/06 M. Levinson Telephone conversation with B. Olson in 0.80 448.00
preparation for the September 18th
Diversified Committee conference call (.20);
review and analyze lengthy J. McGimsey
email memorandum re his thoughts on
settlement versus litigation and forward the
same to certain Diversified Committee
members (.20); draft, revise and finalize
lengthy email memorandum to the
Diversified Committee re the agenda for the
September 18th conference call (.40).
09/18/06 M. Levinson Prepare for this afternoon's Diversified 2.00 1,120.00
Committee conference call by reviewing
prior email memoranda and documents
(.20); participate in very long Diversified
Committee conference call (1.70); review
lengthy S. Katz follow-up email
memorandum (.10).
09/18/06 L. Ernce Exchange emails with A. Loraditch re 1.90 883.50
logistics for committee conference calls
(.10); attend Diversified Committee
telephonic conference call (1.70); review
email from S. Katz re follow-up to today's
Diversified Committee call (.10).
09/19/06 M. Levinson Review S. Katz email memorandum 0.30 168.00
inquiring about document retention and
review the M. Tucker email memorandum to
me re the same (.10); draft, revise and
finalize a lengthy responsive email
memorandum to S. Katz and review her
brief response thereto (.20).
09/21/06 M. Levinson Long telephone conversation with S. Katz re 0.30 168.00
plan status, claims against third parties and
other matters.
09/25/06 M. Levinson Email memorandum to the Diversified 2.30 1,288.00
Committee in preparation for the upcoming
conference call (.20); final preparation for
Diversified Committee conference call (.20);
participate in Diversified Committee
conference call (1.90).
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09/25/06 L. Ernce Draft email memo and letter to R. Worthen 0.40 186.00
re Orrick's August 2006 fee statement; email
to R. Worthen re Beckley Singleton's fee
statement (.20); exchange emails and brief
telephone conference with A. Loraditch re
filing expense reimbursement application for
committee members and timing for same
(.10); emails to R. Worthen, S. Katz and T.
Lawyer re whether they have any expenses
they want reimbursed and timing issues
(.10).
09/25/06 L. Ernce Exchange emails with C. Harvick re today's 2.20 1,023.00

creditors committee meeting (.10);
conference with M. Levinson re agenda for
today's meeting and review M. Levinson
follow-up voicemail re same (.10); attend
meeting of Diversified Committee (1.90);
conference with M. Levinson after meeting
re next steps (.10).

09/26/06 M. Levinson Email memorandum to the Diversified 1.50 840.00
Committee re the draft counterproposal the
First Trust Committee and the exchange of
follow-up email memoranda with E. Karasik
(.30); review T. Lawyer email in response
thereto, email M. Tucker re the same, review
M. Tucker response to T. Lawyer and
review brief T. Lawyer response (.20);
telephone conversation with R. Worthen re
the same (.10); exchange follow-up email
memoranda with S. Katz (.10); another
telephone conversation with R. Worthen,
this one following the call with E. Karasik
(.10); draft another lengthy email
memorandum to the Diversified Committee,
this one covering the discussion with E.
Karasik and C. Pajak, and forward the same
to J. Hermann and M. Tucker for their
review (.30); review J. McGimsey email
memorandum re this morning's email re the
initial settlement proposal (.10); revise and
finalize the new memorandum to the
Diversified Committee, having reviewed J.
Hermann's brief email on my previous draft
(.20); review responses from S. Katz and G.
Kantor and email memorandum to J.
Hermann re the same (.10).
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09/26/06 L. Emce Exchange emails with S. Katz re seeking 0.50 232.50

reimbursement of expenses; review T.
Lawyer email re same (.10); review and
respond to S. Katz email inquiry about
whether Diversified Fund issue share
certificates status of proof of interest form
and exchange emails with C. Harvick re
same (.20); review S. Katz email and
expense receipts and begin drafting portion
of expense reimbursement request (.20).

09/27/06 M. Levinson Review J. McGimsey response to the 0.90 504.00
possible revised counterproposal to First
Trust and brief follow-up email
memorandum to M. Tucker and J. Hermann
re the same (.10); review T. Lawyer
response and re-review G. Kantor and S.
Katz responses (.10); email memorandum to
the Diversified Committee re next steps with
respect to the proposal to First Trust (.20);
email memorandum to the Diversified
Committee and professionals re the
counterproposal emailed to E. Karasik (.10);
exchange email memoranda with C. Nichols
re his thoughts on the proposal and re next
steps (.10); draft, revise and finalize lengthy
end of the day email memorandum to the
members of the Diversified Committee and
to the Diversified professionals (.30).

09/27/06 LL. Ernce Review J. McGimsey email re professional 0.50 232.50
fees and telephone conference with M.
Levinson re same (.10); telephone
conferences with A. Loraditch and J.
Hermann re same (.20); review S. Katz
email re professional fees and conference
with M. Levinson re same (.10); email to S.
Katz responding to her inquiry about
whether Diversified Fund issued share
certificates (.10).

09/28/06 L. Emce Exchange multiple emails with S. Katz and 0.20 93.00
with C. Harvick re status of Form 1099s
issued by USA Commercial for tax year

2005.

09/29/06 L. Emnce Draft and revise application for 0.60 279.00
reimbursement of expenses for R. Worthen
and S. Katz.

09/29/06 L. Ernce Email to R. Worthen re expenses for 0.10 46.50

reimbursement application and review
response.
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B153 — Meetings & Communications with the Committee or members of the 23.80 12,321.00

Committee Total

Timekeeper Summary

Lynn T. Ernce
Marc A. Levinson

Total All Timekeepers

Hours Rate Amount
10.60 465.00 4,929.00
13.20 560.00 7,392.00

23.80 $517.69 $12,321.00
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Task B154 — Meetings & Communications with the Creditors or Equity holders

09/01/06 M. Levinson Telephone conversation with Diversified 0.40 224.00
Fund investor, J. Gallegos (.20); review
email memoranda from a number of
Diversified Fund investors including S.
Greenbaum, G. Pizzo, B. Jensen, E. Dean
and others, and review the L. Ernce
responses thereto (.20).

09/01/06 L. Ernce Telephone call from investor S. Palmer re 1.60 744.00
case status and related issues (.20);
telephone call from investor J. Krelle and
email to J. Krelle with information about
Diversified Committee website (.30);
telephone call from investor E. Dean (.30);
telephone call from investor K. Woltz
(.20); draft email response to investor E.
Dean (.10); review and respond to two
email inquiries from investor S.
Greenbaum (.30); review and respond to
email inquiry from investor B. Jensen
(.10); review inquiry from investor S.
Pizzo and conference with M. Levinson re
responding to same (.10).

09/01/06 L. Emce Revise and update Diversified 0.60 279.00
Committee's website.
09/05/06 L. Ernce Review voicemail from Diversified 1.00 465.00

investor J. Deuerling and telephone
conference with J. Deuerling to respond to
his questions (.10); telephone call from
investor G. Taylor (.30); draft email to G.
Taylor to respond to his questions and
provide website information (.10); draft
email responding to concerns of investor
G. Pizzo (.10); review and respond to
email inquiry from investor J. O'Sullivan
(.10); review and respond to email inquiry
from investor L. Taylor (.10); review and
respond to email from investor R. Ryan
(.10); review and respond to email inquiry
from investor A. Olsen (.10).
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09/05/06 M. Levinson Telephone conversation with Diversified 0.40 224.00
investor P. Sindler (.10); telephone
conversation with L. Ernce re her
conversation with Diversified investor G.
Taylor (.10); telephone conversation with
Diversified investor G. Merson (.10);
review lengthy L. Ernce email memoranda
to various Diversified investors, including
G. Taylor, A. Olson, J. O'Sullivan and R.
Ryan (.10).
09/06/06 L. Ernce Telephone call from Diversified Fund 0.60 279.00

investor Blum re questions about
distribution (.10); review and respond to
email inquiries from investor D. Moosberg
(.10); telephone conference with investor
N. Egge (.20); review and respond to
email inquiries from investor K. Fuhriman
(.10); review and respond to email inquiry
from K. Miller (.10).
09/06/06 M. Levinson Telephone conversation with Diversified 0.50 280.00
Fund investor C. Brice (.20); review
correspondence and email memorandum
from a borrower (Brookmere) re its
attempt to resolve its loan, forward the
same to T. Allison and A. Jarvis under
cover of an email memorandum and
review T. Allison response (.20); review
L. Ernce email memoranda with various
Diversified Fund investors including K.
Miller and K. Fuhriman (.10).
09/06/06 L. Emce Exchange emails with J. Pulliam re 0.10 46.50
responding to inquiry from attorney E.
Nelson's office.
09/06/06 L. Ernce Exchange emails with M. Levinson and A. 0.40 186.00
Loraditch re status of draft response to J.
McGimsey inquiries about professional
fees (.10); review A. Loraditch comments
(.10); revise and finalize response (.20)
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09/07/06 M. Levinson Telephone conversation with Diversified 1.70 952.00
Fund investor, K. Holland (.10); review
email memoranda from BMC and from L.
Ernce re the distribution of a letter/status
report to all Diversified Fund investors
and telephone conversation with L. Ernce
re the same (.20); review and revise the
’ lengthy draft letter /status report to
Diversified Fund investors (.60); review a
number of follow-up email memoranda re
distributing the letter to all Diversified
Fund investors (.10); further review and
revise the draft letter /status report and
email the same to L. Ernce (.60); review
L. Ernce email memorandum to the
Diversified Committee covering the draft
letter (.10).
09/07/06 L. Ernce Continue drafting and revising long letter 3.60 1,674.00
to Diversified Fund investors (2.60); email
to M. Levinson re same (.10); review
email and mailing lists from J. Miller at
BMC (.10); emails to M. Levinson re
same and telephone conference with M.
Levinson re same (.20); further emails to
J. Miller (.10); review M. Levinson
comments to letter (.10); revise and
finalize draft letter and email to
Diversified Committee members for
review (.40).
09/10/06 L. Ernce Review Diversified Committee members’ 0.10 46.50
comments to draft letter to Diversified
Fund investors.
09/11/06 L. Emce Telephone call from investor W. Kirby 0.70 325.50
and follow-up email to W. Kirby re same
(.20); telephone call from investor D.
Newton (.20); telephone call from investor
P. Jacques and follow-up email to S.
Smith at Mesirow and P. Jacques re same
(.20); review and respond to email from
investor J. Palmer (.10).
09/11/06 M. Levinson Review and interlineate comments to 0.40 224.00
today's draft of the letter to all Diversified
Fund investors, as revised by L. Ernce in
light of comments from members of the
Diversified Committee (.30); review the
next version of the letter, as transmitted to
the members of the Diversified
Committee, and review the L. Ernce email
memorandum re the same (.10).
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09/11/06 L. Emce Email to R. Worthen responding to his 1.00 465.00

inquiry about operation of BMC website;
emails to Diversified Committee members
re status of letter to Diversified Fund
imvestors (.10); revise draft letter to
Diversified Fund investors based on
comments received from Diversified
Committee members (.50); review M.
Levinson comments and further revise
letter (.20); email to Diversified
Committee re means for addressing
problem of receiving multiple documents
from debtors in the mail (.10); email
memo to Diversified Committee re next
version of letter to Diversified Fund
members and review email re R. Worthen
sign-off on next version of letter (.10).

09/11/06 L. Ernce Return telephone call to Diversified Fund 0.20 93.00
investor P. Sindler and email to M.
Levinson re same.

09/12/06 L. Emce Telephone call from investor V. 0.30 139.50
Lagormasino.

09/12/06 M. Levinson Telephone conversation with Diversified 0.10 56.00
investor R. Sharpe re case status.

09/12/06 L. Emce Telephone conference with M. Levinson 0.30 139.50

re my call with a concerned investor who
has been receiving information from the
company and brokers that Diversified
Fund members will not recover anything
and re steps for addressing this (.10); draft
email memo to M. Levinson re same (.10);
review M. Levinson email memo to T.
Allison and A. Jarvis re same (.10).

09/13/06 L. Ernce Telephone call from investor J. Abodeely 1.00 465.00
(.10); telephone call from investor J.D.
Jones (.30); review and respond to email
inquiries from investor D. Stibor (.10);
review and respond to emails from
investor L. Avila and from M. Avila (.20);
review and respond to email from investor
J.D. Jones and review A. Loraditch
response to inquiry from investor G. Muir
(.10); review and respond to email from B.
Jensen on behalf of investor L. Webb
(.10); follow-up emails with Mesirow
personnel re status of response to inquiry
on P. Jacques claim and review response;
email to P. Jacques re same (.10).
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09/13/06 M. Levinson Telephone conversation with L. Ernce re 0.20 112.00

revising the letter to creditors (.10); review
the email memorandum from B. Olson for
Diversified investor L. Webb and review
the L. Ernce response thereto (.10).
09/14/06 L. Emce Telephone call with investor M. Palmer 0.80 372.00
(.10); review and respond to email inquiry
from K. Miller (.10); telephone call from
investor A. Scalleat (.20); review and
respond to email inquiry from investor D.
Bohall (.10); review and respond to email
inquiries from investor A. Kassebaum and
exchange emails with A. Loraditch re her
communications with same investor (.30).
09/14/06 M. Levinson Review email memoranda from 0.20 112.00
Diversified investor P. Rieger and
exchange email memoranda with L. Ernce
re the same (.10); review the exchange of
email memoranda between Diversified
investor K, Miller and L. Ernce (.10).
09/14/06 L. Emce Review email inquiry from investor P. 0.10 46.50
Rieger and email to M. Levinson re
responding to same.
09/15/06 L. Ernce Review and respond to email inquiry from 0.60 279.00
investor D. Golden (.10); review and
respond to email inquiry from investor M.
Williams (.10); review and respond to
email inquiry from investor J. Howell
(.10); review email inquiry from investor
A. Olsen and email to M. Levinson re
same (.10); review and respond to email
inquiry from investor D. Duesing (.10);
review voicemail inquiry from investor E.
Johnston and draft email responding to
inquiry (.10).
09/15/06 M. Levinson Review email inquiries from Diversified 0.20 112.00
investors E. Johnson, J. Howell and A.
Olson and review the L. Emce response to
J. Howell.
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09/15/06 L. Ernce Email memo to M. Levinson re questions 0.60 279.00
being frequently asked by Diversified
investors and responding to same (.10);
review debtors’ report on September 13
hearing and email to Diversified
Committee professionals re same and
posting to Diversified Committee website
(.10); attention to updating Diversified
Committee's website with various new
information (.30); review M. Levinson
email to Diversified Committee re agenda
items and issues for Monday's Diversified
Committee call (.10).
09/17/06 L. Ernce Review and respond to email inquiry from 0.10 46.50
investor D. Duesing re non-Diversified
loan.
09/18/06 L. Emce Telephone call from investor F. Mayfield 0.50 232.50
(.10); telephone call from investor D.
Snider (.20); review and respond to
multiple emails from investor E. Fisher
(.20).
09/18/06 L. Ernce Exchange emails with C. Harvick re 0.10 46.50
questions from investor about Universal
Hawaii loan.
09/19/06 L. Ernce Telephone conference with attorney J. 0.20 93.00
Foley who represents a Diversified
investor.
09/19/06 M. Levinson Review most recent email memorandum 0.10 56.00
from Diversified investor A. Olsen and
review L. Ernce email memorandum re the
same.
09/19/06 L. Ernce Email to M. Levinson and A. Loraditch re 0.10 46.50
email from investor A. Olsen and related
issues.
09/20/06 M. Levinson Review email memoranda from J. Massa 0.20 112.00
of a Diversified investor, Landco (.10);
conference with L. Ernce re the same and
re responding to investor inquiries,
generally (.10).
09/20/06 L. Ernce Exchange emails from M. Levinson re 0.20 93.00
inquiries from investor J. Massa and
conference with M. Levinson re
responding to same.
09/21/06 L. Ermce Telephone call from investor J. Palmer 0.40 186.00
(.10); telephone call from investor Deen
(.10); review and respond to email inquiry
from A. Maestri (.10); review and respond
to email inquiry from investor M.
Bowman (.10).
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09/21/06 M. Levinson Voicemail message from Diversified Fund 0.30 168.00

investor, P. Sindler, conference with L.
Ernce re the same and exchange email
memoranda with L. Ernce re the same
(.10); review very lengthy L. Ernce email
memorandum to Diversified investors, the
Bowmans, and her long email to
Diversified investor, A. Maestri (.10);
telephone conversation with L. Ernce re
updating the letter to all Diversified
investors and circulating the next draft to
the Diversified Committee (.10).
09/21/06 L. Ernce Telephone conference with Diversified 0.30 139.50
investor P. Sindler and email to M.
Levinson re my call with P. Sindler.
09/21/06 L. Ermce Update Diversified Committee's website 0.60 279.00
to include various new information,
including new hearing dates and debtors!
latest loan summary reports (.30); draft
and revise information sheet for
Diversified investors related to proof of
claim and proof of interest form for
posting on Diversified Committee's
website (.20); emails to Diversified
professionals re same (.10).
09/22/06 L. Emce Review and respond to email inquiries 0.20 93.00
from investor A. Maestri (.10); review and
respond to email inquiries from investor L.
Janus (.10).
09/22/06 M. Levinson Review email inquiry from Diversified 0.20 112.00
investor L. Janus and the lengthy L. Ernce
reply thereto (.10); review the letter and
motion by the Jessups (.10).
09/22/06 L. Emce Review latest Diversified loan status 0.20 93.00
report from C. Harvick and attention to
updating Diversified Committee website
with new information.

09/22/06 LL. Ernce Attention to Diversified committee 0.20 93.00
website maintenance issues.
09/25/06 L. Ernce Telephone conference with investor R. 0.20 93.00

O'Hara and draft email memo to R. O'Hara
re information on available websites and
related matters.
09/25/06 L. Ernce Review files and emails and revise draft 0.70 325.50
letter to investors from Diversified
Committee (.60); email memo to M.
Levinson re latest changes and requesting
comments (.10).
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09/26/06 L. Ernce Review email from investor B. Boone and 0.10 46.50
draft email response.
09/26/06 L. Ernce Long telephone call from relative of 0.70 325.50
investor Bloom (.60); telephone call from
investor F. Maffeo (.10).
09/26/06 L. Ernce Revise and update Diversified committee's 0.30 139.50
website to include recent information and
documents.
09/27/06 L. Emce Review and respond to email inquiry from 0.10 46.50

attorney J. King, who represents certain
Diversified investors.
09/27/06 M. Levinson Exchange voicemail messages with 0.10 56.00
Diversified investor, R. Sharpe and review
L. Ernce email responses to two
Diversified investors.
09/28/06 L. Ernce Telephone call from investor E. Malouf 0.40 186.00
(.20); review and respond to email inquiry
from investor D. Schroeder (.20).

09/28/06 L. Ernce Further revise letter to Diversified 0.40 186.00
investors.

09/28/06 M. Levinson Review lengthy L. Ernce email 0.10 56.00
memorandum to Diversified investor D.
Schroeder.

09/28/06 L. Ernce Attention to revising and updating 0.60 279.00
Diversified Committee website.

09/29/06 L. Ernce Review email inquiry from investor S. 0.10 46.50
Novara and email to FTI professionals re
same.

09/29/06 M. Levinson Review email memorandum from 0.90 504.00

Diversified investor J. Goertz and the
follow-up email memorandum from M.
Tucker (.10); exchange email memoranda
with L. Ernce re finalizing the Diversified
Committee letter to Diversified investors
(.10); review and revise the current
version of the draft letter to all Diversified
investors (.40); exchange follow-up email
memoranda with J. Hermann and L. Ernce
(.10); review J. Hermann comments to the
last draft of the letter to investors, review
the next draft of the letter that included
revisions in light of such comments and
review L. Ernce email memorandum to R.
Worthen re the same (.20).

09/29/06 L. Ernce Review letter from investor C. Clark and 0.10 46.50
emails from M. Levinson and A.
Loraditch re same.
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09/29/06 L. Emce Review emails with M. Tucker re status of 1.10 511.50

letter to Diversified investors from
Diversified committee and review emails
with investor inquiries forwarded by M.
Tucker (.10); email to M. Tucker re status
of letter to Diversified investors and
providing information for his response to
investor inquiries (.10); review J.
Hermann and M. Levinson emails re same
and review applicable bankruptcy rules
(.20); conference with M. Levinson re
latest version of investor letter and
modifications to letter (.10); revise letter
and email next version of letter to M.
Levinson and J. Hermann (.20); review J.
Hermann comments and further revise
letter (.20); telephone conference with M.
Tucker re status of his comments (.10);
email memo to R. Worthen re next version
of letter and timing for sending to
investors (.10).

09/29/06 J. Hermann Prepare proposed response to Diversified 0.70 399.00
Fund member inquiring as to claims to be
made by Diversified Fund in USACM
case (.20); review and revise update and
advice letter to all Diversified Fund
investors (.50).

B154 — Meetings & Communications with the Creditors or Equity holders 28.20 13,756.50

Total
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 21.50 465.00 9,997.50
Jeffery D. Hermann 0.70 570.00 399.00
Marc A. Levinson 6.00 560.00 3,360.00

Total All Timekeepers 28.20 $487.82 $13,756.50
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Task B160 — Fee/Employment Applications

09/11/06 L. Ernce Review email memo from M. Levinson 0.10 46.50
requesting that I work on revising Orrick's
prebills for purposes of its August 2006
fee statement and email to M. Levinson re

same.
09/13/06 L. Ernce Review and substantially revise Orrick's 2.40 1,116.00
prebills for August 2006.
09/21/06 M. Levinson Review the lengthy M. Tucker email 0.10 56.00

memorandum re the debtors' attempt to
employ Beadle, McBride as an ordinary
course professional.

09/21/06 J. Hermann Review and analyze debtors ordinary 0.40 228.00
course employment application and
addendum identifying accounting firm to
be employed (.20); participate in
exchange of email correspondence with
Diversified Fund committee professionals
regarding possible waiver of claims
against said accounting firm and regarding
related issues (.20).

09/21/06 L. Emce Continue working on Orrick's invoice and 1.50 697.50
related matters for August fee statement.

09/22/06 M. Levinson Review and revise Orrick's interim fee 1.30 728.00
statement for August.

09/22/06 L. Ernce Emails with M. Levinson re status of 1.70 790.50

Orrick's invoice and monthly fee
statement (.10); continue working on
revisions to Orrick's invoices and monthly
fee statement including conferences with
billing coordinator re corrections and
conferences with M. Levinson (1.20);
revise and finalize draft of monthly fee
statement and exhibit charts based on
finalized invoice (.30); email to M.
Levinson re same and status matters (.10).
09/25/06 L. Ernce Conference with M. Levinson re Orrick's 0.40 186.00
fee statement for August 2006 (.10); revise
and finalize Orrick's fee statement and
circulate to reviewing parties per interim
fee procedure order (.30).
09/25/06 L. Ernce Exchange emails with M. Levinson and A. 0.10 46.50
Loraditch re status of filing of monthly
statements or fee applications by FTI and
email to M. Tucker re same.
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09/26/06 M. Levinson Exchange a series of email memoranda 0.20 112.00
with A. Loraditch and L. Ernce re the
August interim fee statements both served
and filed by a number of professionals and
telephone conversation with A. Loraditch
re the same.
09/28/06 L. Ernce Attention to matters related to J. 0.80 372.00
McGimsey's inquiries about professional
fees.
09/29/06 M. Levinson Exchange email memoranda with L. 0.10 56.00
Ernce re preparation of the order
approving Orrick's first interim fee
application.
09/29/06 L. Ernce Review draft orders approving Shea & 0.10 46.50

Carlyon and Stutman fee applications;
email memo to M. Levinson re status of
order on Orrick's fee application.
09/29/06 J. Hermann Telephone conference with M. Tucker and 0.10 57.00
M. Levinson regarding fee application
issues raised in bankruptcy court

yesterday.
B160 — Fee/Employment Applications Total 9.30 4,538.50
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 7.10 465.00 3,301.50
Jeffery D. Hermann 0.50 570.00 285.00
Marc A. Levinson 1.70 560.00 952.00

Total All Timekeepers 9.30 $488.01 $4,538.50
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Task B170 — Fee/Employment Objections

09/13/06 L. Ernce Review objection by JV Lenders to Shea 0.10 46.50
& Carlyon fee application and email to M.
Levinson re same.
09/14/06 L. Ernce Exchange emails with A. Loraditch re 0.10 46.50
whether Diversified Committee will object
to the monthly fee statement of any estate
professional.
09/15/06 L. Ernce Review McKnight response to Shea & 1.00 465.00
Carlyon fee application and email to M.
Levinson re same (.10); exchange emails
with A. Loraditch and M. Levinson re
possible response to Gordon & Silver fee
application (.20); telephone conference
with M. Levinson re same (.10); initial
review and analyze Unsecured Creditors
Committee objection to debtors'
professionals' fees and attempts to shift
fees and expenses to Diversified Fund
(.40); initial review of U.S. Trustee
objection to monthly fee statements (.20).
09/16/06 M. Levinson Initial review the U.S. Trustee's objections 0.30 168.00
to the interim fee applications filed by
Orrick, Beckley, Ray Quinney, Mesirow
and other firms emailed late yesterday by
A. Landis (.20); forward the same to
Diversified professionals and exchange
brief follow-up email memoranda with J.
Hermann (.10).
09/16/06 L. Ernce Exchange emails with M. Levinson re 0.10 46.50
U.S. Trustee objection to Orrick's monthly
fee statement.
09/18/06 J. Hermann Telephone conference with M. Levinson, 0.30 171.00
M. Tucker and C. Harvick regarding
USACM unsecured creditors committee
objection to allocation of debtors’
professional fees and manner of
responding to the same.
09/18/06 M. Levinson Telephone conversation with M. Tucker, 0.40 224.00
C. Harvick and J. Hermann re the .
objection of the USACM unsecured
creditors committee to the allocation of
Mesirow, Ray Quinney and Schwartzer
fees and costs (.30); conference with L.
Ernce re next steps with respect to the
same (.10).

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09/18/06 L. Ermce Telephone conference with M. Levinson 0.80 372.00
re U.S. Trustee's objection to Orrick’s
monthly fee statement and next steps
(.10); review U.S. Trustee objections to
other fee applications (.20); telephone
conference with A. Loraditch re her
office's communications with U.S. Trustee
re objection to Beckley Singleton email
and related matters (.20); exchange emails
with C. Harvick re providing response to
USACM unsecured creditors committee
objection to debtors’ professionals fee
applications (.10); email to A. Landis
requesting meet and confer on U.S.
Trustee objection to Orrick's fee
statements and review A. Landis response
(.10); review JV lenders' omnibus
response to fee applications and email to
Diversified Committee professionals re
same (.10).
09/19/06 J. Hermann Consider and analyze issues raised by 0.20 114.00
objection to professional fees filed on
behalf of T. Hantges and J. Milanowski.
09/19/06 J. Hermann Telephone conference with M. Tucker and 0.20 114.00
Levinson regarding issues in connection
with objections to debtor professional fees
filed by unsecured creditors committee
and response to the same.
09/19/06 J. Hermann Review and revise email correspondence 0.20 114.00
to U.S. Trustee's office regarding response
to objection to Orrick’s fees.
09/19/06 J. Hermann Telephone conference with M. Levinson 0.20 114.00
and L. Ernce regarding issues in
connection with U.S. Trustee's objection
to Orrick fee application and related
matters.
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09/19/06 M. Levinson Portion of long telephone conversation 0.70 392.00

with J. Hermann, with M. Tucker for part,
re responding to the USACM committee's
objection to the Ray Quinney, Schwartzer
and Mesirow fee applications (.20);
review and revise the draft L. Ernce email
memorandum to A. Landis re the limited
objection to the Orrick fee application,
review the J. Hermann revised version and
send a follow-up email memorandum to
both (.20); telephone conversation with J.
Hermann and L. Emce re finalizing the
same (.10); review the version of the email
memorandum sent to A. Landis (.10);
review the J. Milanowski objection to all
fee applications (.10).

09/19/06 L. Ernce Email to M. Tucker re US. Trustee's 1.60 744.00
objections to professionals' monthly fee
statements (.10); exchange emails with A.
Loraditch re filing Diversified
Committee's response to unsecured
creditors committee objection to debtors'
professionals’ fees and logistics (.10);
telephone conference with A. Loraditch
and B. Olson re same (.20); telephone
conferences with A. Loraditch, B. Olson,
C. Pajak and A. Parlen re same with B.
Kotter for part (.30); email to C. Harvick
re any substantive comments to unsecured
creditors committee objection from FTI
(.10); conference with M. Levinson re
responding to U.S. Trustee re objection to
Orrick's time entries (.10); email to J.
Hermann re status of meet and confer with
U.S. Trustee office and sending A. Landis
a substantive response (.10); draft email to
A. Landis, review M. Levinson and J.
Hermann comments and telephone
conference with M. Levinson and J.
Hermann re same (.30); revise and finalize
email to A. Landis (.10); review email
from B. Kotter re request for extension of
time to respond to USACM unsecured
creditors committee objection (.10);
review USACM unsecured creditors
committee objection to debtors' motion for
approval of ordinary course professionals
(.10).
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09/20/06 J. Hermann Portion of conference call with A. Jarvis, 0.10 57.00

M. Levinson and M. Tucker re fee
objections of U.S. Trustee's office.
09/20/06 M. Levinson Portion of long telephone conversation 0.50 280.00
with A. Jarvis, J. Hermann and M. Tucker
devoted to the U.S. Trustee's objections to
the Orrick and Ray Quinney fee
applications and the USACM committee
objection to the Orrick and Ray Quinney
fee applications (.10); review and analyze
R. Charles email memorandum re his
thoughts on next steps with respect to the
USACM objection and exchange follow-
up email memoranda with L. Ernce re the
same (.20); conference with L. Ernce re
the same and re structuring the Diversified
Fund pleading in response to the USACM
committee objection (.20).
09/20/06 L. Emce Continue working on Orrick invoice for 1.70 790.50
August monthly fee procedure, including
working with billing coordinator re same.
09/20/06 L. Ernce Review email from R. Charles re 0.30 139.50
extension for filing replies to USACM
unsecured creditors committee objection
to debtors' professionals’ fee applications
and his request for proposals on fair
allocation; email to M. Levinson re same
and telephone conference with M.
Levinson (.20); review C. Harvick email
re his comments to USACM unsecured
creditors committee objection (.10).
09/21/06 M. Levinson Portion of long telephone conversation 0.20 112.00
with R. Olson and A. Loraditch devoted to
a discussion of the USACM objection to
the Ray Quinney and Mesirow fee
applications.
09/21/06 L. Ernce Review reply in support of objections to 0.40 186.00
Lewis & Roca fee application (.10);
exchange emails with B. Kotter and other
counsel re form of stipulation to extend
time for responding to USACM unsecured
creditors committee's objections to
debtors’ professionals' fee applications and
attempts to shift fees from USACM to
Diversified Fund (.20); exchange emails
with A. Loraditch re logistics for filing
and service of Diversified Committee's
response in light of stipulated extension of
deadline to next Monday (.10).
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09/22/06 J. Hermann Further prepare response to time 0.40 228.00
descriptions for U.S. Trustee objection.

09/22/06 M. Levinson Review and respond to J. Hermann and L. 0.10 56.00

Ernce email memoranda re the U.S.
Trustee's limited objection to Orrick's
monthly fee statements.

09/22/06 L. Ernce Telephone conference with R. Olson re 1.10 511.50
possible strategies for responding to
USACM unsecured creditors committee's
attempt to shift professionals fees and
expenses from USACM to the Diversified
Fund (.20); review B. Olson emails and
legal memos re same (.30); conference
with M. Levinson re same (.10); work on
argument outline for response (.20);
conference with M. Levinson re USACM
unsecured creditors committee's decision
not to push the reallocation issue at next
week's hearing, so no need for Diversified
to file any response (.10); email memo to
A. Loraditch and R. Olson re same (.10);
review email from S. Freeman confirming
same and exchange emails with A.
Loraditch (.10).

09/22/06 L. Emce Email to J. Hermann re responding to U.S. 0.30 139.50
Trustee's objection to Orrick's time entries
and status of meet and confer attempts
(.10); conference with M. Levinson re
issues related to same and his discussions
with A. Jarvis and review J. Hermann
email re same (.20).

09/25/06 M. Levinson Review First Trust Committee's response 0.40 224.00
to the various objections filed by
Investment Partners, the McKnights and
others and telephone conversation with L.
Ernce re the same and re related matters
(.20); review lengthy L. Ernce email
memorandum re various issues relating to
possibly objecting to the debtors’ retention
of Beadle, McBride and analysis re next
steps in light thereof (.20).

09/25/06 L. Ernce Detailed voicemail to A. Landis re 0.30 139.50
meeting and conferring on U.S. Trustee's
objection to Orrick's monthly fee
statements; email to M. Levinson and J.
Hermann re same (.10); review First Trust
Deed Fund committee's response to
objections to its professionals’ fee
applications (.20).
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09/25/06 L. Ernce Review Beckley Singleton fee statement 0.50 232.50
(.10); review fee statements for other
estate professionals including
professionals for debtors, USACM
unsecured creditors committee and direct
lenders (.40).
09/25/06 L. Emce Telephone conference with M. Levinson 0.40 186.00

re timing for objecting to debtors'
proposed ordinary course professionals
(.10); review debtors' motion for approval
of ordinary course professionals and
proposed procedures and most recent case
management order (.20); email memo to
M. Levinson re timing for objecting to
motion and specific ordinary course
professionals (.10).
09/26/06 J. Hermann Telephone conference with M. Levinson 0.10 57.00
and M. Tucker regarding issues bearing
upon fee applications and objections of
USACM unsecured creditors committee to
the same.
09/26/06 J. Hermann Review and analyze comments of U.S. 0.50 285.00
Trustee office to Orrick fees included in
photocopies received from U.S. Trustee's
office.
09/26/06 J. Hermann Prepare response to U.S. Trustee 2.80 1,596.00
objections including revision of time
entries objected to as containing
insufficient information.
09/26/06 J. Hermann Telephone conference with M. Levinson 0.10 57.00
and M. Tucker regarding fee objections
filed by USACM unsecured creditors
committee and related matters.
09/26/06 J. Hermann Participate in conference call with A. 0.10 57.00
Jarvis, S. Strong and M. Levinson
regarding fee objections asserted but not
filed by U.S. Trustee.
09/26/06 J. Hermann Telephone conference with M. Levinson 0.10 57.00
and L. Ernce regarding fee objection
raised by U.S. Trustee and steps being
taken to respond to U.S. Trustee request
for further information.
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09/26/06 M. Levinson Initial review of the Ray Quinney and 1.30 728.00

Mesirow responses to the objections to
their first interim fee applications (.20);
telephone conversation with M. Tucker
and J. Hermann re the USACM objection
(.20); telephone conversation with E.
Karasik and C. Pajak re the USACM
objection (.10); telephone conversation
with M. Tucker and J. Hermann re my call
with E. Karasik and C. Pajak re the
USACM unsecured creditors committee
objections, re the R. Charles email that
arrived during the call and re related (.10);
conference with L. Ernce re the same and
re preparing a response to the USACM
unsecured creditors committee objection
(.10); telephone conversation with A.
Jarvis, S. Strong and J. Hermann, for part,
re the USACM objection, the position of
the U.S. Trustee and related matters (.30);
conference with L. Ernce re the foregoing
and re preparing a response to the
USACM unsecured creditors committee
objection (.20); telephone conversation
with J. Hermann and L. Ernce re
responding to the U.S. Trustee's lumping
claim (.10).
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09/26/06 L. Ernce © Review email from A. Landis re detail on 1.90 883.50
his office's objections to Orrick's time
entries and review detail (.10); email to J.
Hermann and M. Levinson re same (.10);
review H. Hermann revisions to June and
July time entries and attention to revising
few additional entries for me and M.
Levinson (.30); telephone conference with
M. Levinson and J. Hermann re
responding to U.S. Trustee's objection and
related matters (.20); conference with M.
Levinson re USACM unsecured creditors
committee has renewed the issue of
reallocation of fees and expenses from
USACM to Diversified Fund and need for
drafting response (.20); email to Nevada
counsel re same and logistics (.10); re-
review unsecured creditors committee's
pleading and begin drafting and revising
response to USACM unsecured creditors
committee (.60); conference with M.
Levinson re strategy for same (.10);
continue drafting (.20).

09/26/06 L. Ernce Review Ray Quinney's response to 0.80 372.00
objection of USACM unsecured creditors
committee and email memo to Diversified
professionals re same (.20); review
Mesirow's response to same objection and
email to Diversified professionals re same
(.20); review order granting stipulation to
extend time to respond to USACM
unsecured creditors committee's objection
and review portions of fee applications
filed by Shea & Carlyon with court (.20);
review expense reimbursement application
filed on behalf of Direct Lenders
committee (.10); exchange emails with A.
Loraditch re issues related to interim fee
procedures (.10).
